                      Case 15-13202-LMI       Doc 127     Filed 06/06/16    Page 1 of 3
                  UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                SIXTH MODIFIED CHAPTER 13 PLAN (Individual Adjustment of Debts)

DEBTOR: KELVIN ALEXANDER CHARLES         CASE NO. 15-13202-BKC-LMI
Last four digits of SS No. 0620


MONTHLY PLAN PAYMENT: Including Trustee's fee of 10% and beginning thirty (30) days from
filing/conversion date. Debtor(s) to pay to the Trustee for the period of 60 months.

A. $1,307.03 for months 1 to 15, Paid in Prior Plan;
B. $31,642.20 for month 16, beginning June 23, 2016;
C. $2,760.91 for months 17 to 60, beginning July 23, 2016; in order to pay the following
creditors:

Administrative: Attorney's Fees: $7,975.00; Paid Fees: $3,300.00; Balance Due: $4,675.00 (-)
$4,150.00 = $525.00; payable $276.67/mo. (Mos. 1 to 15)Paid Prior Plan & $525.00/mo. (Mo. 16)

Secured Creditors: [Retain Liens pursuant to 11 U.S.C. § 1325(a)(5)]
Mortgage(s)/Liens on Real or Personal Property


1. BANK OF AMERICA/NATIONSTAR (1st Mtg Inv. Prop. - 11910 NE 10 Ave., Biscayne Park, FL
33161) -      $102,000.00 (-) 12,127.93 = $89,872.07
c/o Pendergast & Morgan             $808.53/mo. (Mos. 1 to 15)
6675 Corporate Center Parkway       $12,333.24/mo. (Mo. 16) &
Ste 301                             $1,762.25/mo. (Mos. 17 to 60)
Jacksonville, FL 32216              Direct pay begins: February 2020
*Payment includes Property Insurance (Payment of $200.00)
Real Estate Taxes (Payment of $306.19)
Principal Interest Payment is $1,193.81
Total MMM Payment is $1,700.00


“The debtor has filed a Verified Motion for Referral to MMM with
Bank of America(“Lender”), loan number 4220, for real property located at
11910NE 10 Ave., Biscayne Park, FL 33161 . The parties shall timely comply with all requirements of the Order
of Referral to MMM and all Administrative Orders/Local Rules regarding MMM. While the MMM is pending
and until the trial/interim payment plan or the permanent mortgage modification/permanent payment is
established by the parties, absent Court order to the contrary, the debtor has included a post-petition monthly
plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid
toward HOA fees due for the property) and (b) with respect to income producing property, of no less than 75%
of the gross income generated by such property, as a good faith adequate protection payment to the lender.
All payments shall be considered timely upon receipt by the trustee and not upon receipt by the lender.
1.      Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any
       objection to the lender’s proof of claim on the real property described above shall be held in abeyance
       as to the regular payment and mortgage arrearage stated in the proof of claim only. The debtor shall
       assert any and all other objections to the proof of claim prior to confirmation of the plan or modified
       plan.

If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement
as a result of the pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve
Mortgage Modification Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage
Modification Agreement with Lender) no later than 14 calendar days following settlement. Once the settlement
is approved by the Court, the debtor shall immediately amend or modify the plan to reflect the settlement and
the lender shall amend its Proof of Claim to reflect the settlement, as applicable.


    LF-31 (rev. 01/08/10)
                      Case 15-13202-LMI        Doc 127     Filed 06/06/16    Page 2 of 3




If a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later
than 30 calendar days following approval of the settlement by the Court and the Lender shall have leave to
amend its Proof of Claim to reflect the settlement reached after confirmation of the plan. The parties will then
timely comply with any and all requirements necessary to complete the settlement.

In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall
immediately disclose the financial benefit to the Court and the trustee and amend or modify the plan
accordingly.

If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s
Final Report is filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if
the lender has filed a Proof of Claim) or (b) provide that the real property will be surrendered. If the amended
or modified plan provides that the real property is to be surrendered, then the obligations to the lender will
be considered “treated outside the plan” and the lender shall have in rem relief from the automatic stay as to
the real property being surrendered. Notwithstanding the foregoing, lender may file a motion to confirm that
the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address
payment of its Proof of Claim.”

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
THE CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO
BR 7004 and LR 3015-3


1.REAL TIME RESOLUTIONS (2nd Mtg Inv. Prop. Acct #8252 - 11910 NE 10 Ave., Biscayne Park, FL
33161) - The value of the investment property is $90,000.00. The payoff of the first
mortgagee Bank of America is $310,261.00. Therefore, as there is no equity after the first
mortgage, the second mortgage due to Real Time Resolutions in the amount of $23,898.00 will
be stripped off and avoided.


2. SANTANDER/CHRYSLER CREDIT - PAYOFF OF A 2010 Jeep Wrangler and warranty, if applicable,
$19,620.28 (-) 1,834.98 = $17,785.30;
POB 961275                    Payment; $122.33/mo. (Mos. 1 to 15)Paid in Prior Plan
Ft. Worth, TX 76161           $17,785.30/mo. (Mo. 16)
Acct #1000




Priority Creditors: [As defined in 11 U.S.C. Section 507]


NONE


Unsecured Creditors: $0.00/mo. (Mos. 1 to 15)Paid in Prior Plan
                                                              $722.57/mo. (Mos. 16 to 60).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar
date.




    LF-31 (rev. 01/08/10)
                           Case 15-13202-LMI              Doc 127         Filed 06/06/16         Page 3 of 3



Dated: June 4, 2016
                                                     CERTIFICATE OF MAILING

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this Court set forth in Local Rule 2090-1(A) and that a true and correct copy of
the foregoing was sent by e-mail to Nancy Neidich at e2c8f01@ch13herkert.com and those set forth in the NEF and regular mail to all creditors
this 4th day june, 2016.



                                                        Law Offices of Michael J. Brooks,
                                                        Michael A. Frank,
                                                        & Rodolfo De La Guardia
                                                        Attorney for Debtor(s)
                                                        10 N.W. LeJeune Road, Suite 620
                                                        Miami, FL        33126-5431
                                                        (305) 443-4217
                                                        Pleadings@bkclawmiami.com



                                                        By /s/
                                                        Michael J. Brooks
                                                        Florida Bar No. 434442




     LF-31 (rev. 01/08/10)
